                   UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHERN DIVISION

In Re:                                                Case No.: 18-83393-CRJ-13
         Demeco D. Martin                             Chapter 13
          xxx-xx-2668
                  Debtor,                             Adversary Proceeding
                                                      No.:

Demeco D. Martin
          Plaintiff,
    vs.

Reliant Capital Solutions
           Defendant.

    COMPLAINT SEEKING RELEASE OF WAGE LEVY PURSUANT TO
                    11 U.S.C. SECTION 362

               COMES NOW the Debtor, by and through his attorney and moves
         this Honorable Court to release the Wage Levy now pending on the Debtor’s
         income and for grounds therefore, set out as follows:

         1.    Debtor filed a Chapter 13 Petition and relief was ordered on
               November 13, 2018.

         2.    The following creditor filed a wage levy:

                     Reliant Capital Solutions
                     c/o US Department of Education
                     National Payment Center
                     PO Box 105081
                     Atlanta, GA 30348-5081

               The Debtor’s social security number is: xxx-xx-2668.

         3.    The Debtor’s payroll information is:
                    G4S Secure Solutions
                    1395 University Blvd.
                    Jupiter, FL 33458


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     4.    The Debtor claimed all future property as exempt.

     5.    The Debtor represents that the creditor's debt is not for alimony or
           child support obligation.


            WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that
     this court:

           a.    Order Defendant to forthwith release the wage levy to the
                 Debtor;

           b.    Order such other relief as it just and proper.


                                            Respectfully submitted,
                                            BOND, BOTES, SYKSTUS,
                                            TANNER & EZZELL, P.C.


                                             /s/ Amy K. Tanner
                                            Ronald C. Sykstus
                                            Amy K. Tanner
                                            James W. Ezzell, Jr.
                                            Kathryn V. Davis
                                            Attorney for Debtor
OF COUNSEL:

BOND, BOTES, SYKSTUS, TANNER & EZZELL, P.C.
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                        CERTIFICATE OF SERVICE

      I hereby certify that I have on this 14th day of November , 2018,
served a copy of the foregoing Complaint on Reliant Capital Solutions, c/o US
Department of Education, National Payment Center, PO Box 105081, Atlanta,
GA 30348-5081, G4S Secure Solutions, 1395 University Blvd., Jupiter, FL
33458, Internal Revenue Service, Centralized Insolvency Ops, PO Box 7346,
Philadelphia, PA 19101-7346, Internal Revenue Service, 801 Tom Martin
Drive, Stop 126, Birmingham, AL 35211, Internal Revenue Service, c/o
Richard E. O'Neal, Assistant U.S. Attorney, Robert S. Vance Federal
Building, Room 200, 1800 5th Avenue North, Birmingham, Alabama 35203,
Internal Revenue Service, c/o Matthew G. Whitaker, Attorney General, U.S.
Department of Justice, Tax Division, 950 Pennsylvania Avenue NW,
Washington, D.C. 20530-0001, Internal Revenue Service, PO Box 21126,
Philadelphia, PA 19114, Internal Revenue Service, PO Box 7346,
Philadelphia, PA 19101-7346, and Michele T. Hatcher, Chapter 13 Trustee, by
mailing the same by United States mail properly addressed and First Class Postage
prepaid.

                                                  /s/ Amy K. Tanner
                                                  OF COUNSEL




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